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                  IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS – EASTERN DIVISION

 CHRISTINA BUSH and JOSEPH BUSH, in                )
 their own right and as parents of their infant    )
 daughter A.B.,                                    )
                                                   )
                 Plaintiffs,                       )   Case No.   1:21-cv-04591
                                                   )
                v.                                 )
                                                   )   Judge
 LUDLOW COMMUNITY                                  )
 CONSOLIDATED SCHOOL                               )   Magistrate Judge
 DISTRICT 142; HEALTH CARE SERVICE                 )
 CORPORATION, d/b/a BLUE CROSS                     )   DEFENDANT AETNA LIFE
 BLUE SHIELD OF ILLINOIS; QUALITY                  )   INSURANCE COMPANY’S NOTICE
 NETWORK SOLUTIONS, INC. BENEFIT                   )   OF REMOVAL UNDER 28 U.S.C. §
 PLAN; AETNA LIFE INSURANCE                        )   1331 (FEDERAL QUESTION)
 COMPANY; PEDIATRIC FACULTY                        )
 FOUNDATION, INC.; SILVER CROSS                    )   State Court Complaint filed:
 HOSPITAL AND MEDICAL CENTERS;                     )   June 13, 2021
 and VISION FINANCIAL RECOVERY,                    )
 INC.,                                             )   Accompanying Documents
                                                   )   Declaration of Gina Sparks
                 Defendants.                       )   Declaration of Craig A. Jacobson
                                                   )

                                    NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant Aetna Life Insurance Company

(“Aetna”) submits this Notice of Removal of this action, captioned Christina Bush and Joseph

Bush, in their own right and as parents of their infant daughter A.B. v. Ludlow Community

Consolidated School District 142, et al. and bearing civil case number 2021CH000186, from the

Circuit Court of the 12th Judicial Circuit of Illinois, Will County to the United States District Court

for the Northern District of Illinois. Pursuant to 28 U.S.C. § 1446(a), Aetna states as follows:

       1.      On June 13, 2021, Plaintiffs Christina Bush and Joseph Bush, in their own right and

as parents of their infant daughter A.B. (“Plaintiffs”), filed a Complaint in the Circuit Court of the

12th Judicial Circuit of Illinois, Will County. Plaintiffs allege that their daughter A.B. was born
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on March 28, 2019 at Silver Cross Hospital, and required hospitalization at Silver Cross Hospital

during March and April of 2019, including a stay in the neonatal intensive care unit. (Exh. A,

Complaint, at ¶¶ 15-16). Plaintiffs also claim that A.B. required treatment by physicians associated

with Pediatric Faculty Foundation. (Id., at ¶ 17). According to the Complaint, Silver Cross

Hospital hired Defendant Vision Financial Recovery, Inc. to recover the unpaid amount from

Plaintiffs. (Id., at ¶ 41). Plaintiffs bring a claim for declaratory judgment and equitable relief

under Illinois contract law against Defendants Pediatric Faculty Foundation, Inc., Silver Cross

Hospital and Medical Centers, and Vision Financial Recovery, Inc. (Id., at ¶¶ 62-66). Plaintiff

Christina Bush brings an additional claim against Defendant Vision Financial Recovery, Inc. for

violations of the Fair Debt Collection Practices Act (“FDCPA”).

       2.      Plaintiffs allege one claim against Aetna for damages pursuant to 29 U.S.C. 1132

of the Employee Retirement Income Security Act (“ERISA”) of 1974. (Id., at ¶¶ 49-51). The only

other defendant joined under this claim for relief is Defendant Quality Network Solutions, Inc.

Benefit Plan. (Id.) Plaintiffs allege that Aetna was an administrator for Defendant Quality

Network Solutions, Inc. Benefit Plan obtained through Plaintiff Joseph Bush’s employer, Quality

Network Solutions, Inc. (Exh. A, Complaint, at ¶¶ 21-24). Plaintiffs further allege that Plaintiff

Joseph Bush was covered under the applicable plan and that the plan provided coverage for a

newborn for thirty-one days. (Id., at ¶¶ 21, 22). Plaintiffs also allege that Aetna originally paid

some of the claims, but they received a letter from Aetna dated May 21, 2020 denying their claims

for treatment of A.B. (Id., at ¶ 25, 28). Plaintiffs further claim that by letter dated May 27, 2020,

Defendant Pediatric Faculty Foundation, Inc. notified them that “Aetna had reversed its payment

and denied all claims relating to [A.B.’s] hospitalization, claiming there was some issue regarding

coordination of benefits with Blue Cross and that necessary information had not been provided.”



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(Id., at ¶ 27). According to Plaintiffs, they have appealed to Aetna, but the appeal has been ignored

and any deadlines for filing an appeal have been extended because of the COVID-19 pandemic.

(Id., at ¶¶ 42-43).

        3.      In addition, Plaintiffs also allege that Plaintiff Christina Bush was covered under a

medical benefits plan obtained through her employer, Defendant Ludlow Community

Consolidated School District 142 (“Ludlow”) and that the Ludlow plan expressly provided

coverage for newborns for thirty-one days. (Exh. A, Complaint, at ¶¶ 19-20). Plaintiffs also allege

that the Ludlow plan was “administered by Blue Cross Blue Shield.” (Id., at ¶ 25). According to

Plaintiffs, Blue Cross Blue Shield also originally paid some of the claims and it issued several

letters preapproving the services at issue. (Id., at ¶ 26). Plaintiffs claim that they called both Aetna

and Blue Cross Blue Shield in conference calls, “so that each knew of the other’s coverage and

any coordination problem should have been resolved.” (Id., at ¶ 32). Plaintiffs allege that they

ultimately received the claim denial from Blue Cross Blue Shield on January 15, 2021. (Id., at ¶

35). As with Aetna, Plaintiffs contend that they have appealed to Blue Cross Blue Shield, but the

appeal has been ignored and any deadlines for filing an appeal have been extended because of the

COVID-19 pandemic. (Id., at ¶¶ 42-43). Thus, Plaintiffs allege that Blue Cross Blue Shield also

wrongfully attempted to avoid paying for A.B.’s treatment. (Id., at ¶ 44). Accordingly, Plaintiffs

bring a claim for breach of contract against “Defendants Ludlow Community Consolidated School

District 142 and Health Care Service Corporation, d/b/a Blue Cross Blue Shield of Illinois.” (Id.,

at ¶¶ 46-48). Plaintiffs also bring a claim for violation of 215 ILCS 5/154.6 against Defendant

Health Care Service Corporation, d/b/a Blue Cross Blue Shield of Illinois. (Id., at ¶¶ 52-56).

Finally, Plaintiffs bring a claim for violation of 815 ILCS 505/2 against Defendant Health Care

Service Corporation, d/b/a Blue Cross Blue Shield of Illinois. (Id., at ¶¶ 57-61).



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                     VENUE AND SUBJECT MATTER JURISDICTION

        4.      This action is a civil action over which this Court has original jurisdiction under 28

U.S.C. §§ 1331 and one that may be removed to this Court by Aetna pursuant to the provisions of

28 U.S.C. §§ 1441 and 1446. Pursuant to 28 U.S.C. § 1446(a), Aetna files this notice as required,

“in the district court of the United States for the district and division within which [the Will

County] action is pending.”

        5.      Aetna maintains that venue is proper in the Northern District of Illinois pursuant to

28 U.S.C. § 1441(a), which provides for removal to the District Court of the United States for the

district and division embracing the place where the action is pending. Removal to the United

States District Court for the Northern District of Illinois is appropriate because the removed state

court action was filed in the Circuit Court of the 12th Judicial Circuit of Illinois, Will County,

which is located within this judicial district.

        6.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331, which states that

the district courts have original jurisdiction under the federal question statute over cases “arising

under the Constitution, laws, or treatises of the United States.” Plaintiffs’ only claim against Aetna

is for damages pursuant to 29 U.S.C. 1132 of ERISA. (Exh. A, Complaint, at ¶¶ 49-51). This

Court has original jurisdiction over this action under 29 U.S.C. § 1132(e) because this action relates

to an employee benefit plan.

                    BASIS FOR FEDERAL QUESTION JURISDICTION

        7.      The District Courts of the United States have original jurisdiction over, and federal

ERISA law controls, actions brought to recover benefits and to enforce rights under employee

benefit plans. 29 U.S.C. § 1132(e)(1); Pilot Life Ins. Co. v. Dedeaux, 481 U.S. 41 (1987). “It is

long settled law that a cause of action arises under federal law only when the plaintiff’s well-



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pleaded complaint raises issues of federal law.” City of Chi. v. Int’l College of Surgeons, 522 U.S.

156, 163 (1997) (citing Metropolitan Life Ins. Co. v. Taylor, 481 U.S. 58, 63 (1987)). Removal

by Aetna is therefore proper under 28 U.S.C. § 1441(b) because this action arises under the

governing provisions of ERISA, including 29 U.S.C. § 1144(a) and 29 U.S.C. § 1132.

       8.      29 U.S.C. § 1002(1) defines an “employee welfare benefit plan” or “welfare plan”

as “any plan, fund, or program which was heretofore or is hereafter established or maintained by

an employer or by an employee organization, or by both, to the extent that such plan, fund, or

program was established or is maintained for the purpose of providing for its participants or their

beneficiaries, through the purchase of insurance or otherwise, (A) medical, surgical, or hospital

care benefits, or benefits in the event of sickness, accident, disability, death or unemployment …”

       9.      According to the Complaint, Plaintiff Joseph Bush was covered under the Quality

Network Solutions, Inc. Benefit Plan (“Plan”) obtained through his employer, Quality Network

Solutions, Inc. (Exh. A, Complaint, at ¶¶ 21-24). Plaintiffs also allege that the Plan “expressly

provided for coverage of a newborn for 31 days.” (Id., at ¶ 22). A.B. was born on March 28, 2019

at Silver Cross Hospital, and required hospitalization at Silver Cross Hospital during March and

April of 2019, including a stay in the neonatal intensive care unit. (Id., at ¶¶ 15-16). The claim

against Aetna arises from Plaintiffs’ claims that Aetna’s “denial of benefits to Plaintiffs is

inconsistent with the plan, arbitrary, capricious, and legally and contractually unsupportable, in

violation of 29 U.S.C. § 1132 [of ERISA].” (Id., at ¶¶ 50-51). Plaintiffs also claim that Aetna is

“wrongfully attempting to avoid paying for an expensive hospital stay . . .” (Id., at ¶ 44). Thus,

Plaintiffs bring their claim against Aetna pursuant to 29 U.S.C. § 1132 of ERISA and seek a

declaration that Aetna is liable to cover the hospital and medical expenses at issue, an order for




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Aetna to pay such expenses, appropriate damages, and attorneys’ fees, litigation expenses, and

costs pursuant to 29 U.S.C. § 1132. (Id., at ¶¶ 49-51).

         10.     The Plan to which Plaintiff Joseph Bush claims he and A.B. are covered under, and

under which Plaintiffs pursue their claim Aetna, is an employee benefits plan, sponsored by

Quality Network Solutions, Inc., and governed by ERISA. (Exh. C, Declaration of Gina Sparks

(“Sparks Decl.”), ¶ 4, Exh. 1, at 109-11).            Quality Network Solutions, Inc. is the Plan

Administrator. (Id., at Exh. 1, at 109). Aetna administers the claims for benefits under the Plan.

(Id.). At all times relevant to this action, Plaintiff Joseph Bush was a member enrolled in the Plan.

(Id., at ¶ 4).

         11.     Plaintiffs filed their action in the Circuit Court of the 12th Judicial Circuit of

Illinois, Will County. However, Plaintiffs’ claims against Aetna are preempted by ERISA and

raise a federal question, which is the original jurisdiction of Federal Courts. Complete preemption

applies because Plaintiffs’ claims against Aetna relate to an ERISA plan under 28 U.S.C. § 1144(a)

and fall within the scope of ERISA’s civil enforcement provision under 29 U.S.C. § 1132.

         12.     The enforcement of rights under ERISA plans are governed exclusively by ERISA.

Pilot Life Ins. Co., 481 U.S. at 52. 29 U.S.C. § 1132(a) sets forth ERISA’s civil enforcement

provision and provides that a civil action may be brought by a plan participant or beneficiary “to

recover benefits due to him under the terms of his plan, to enforce his rights under the terms of the

plan, or to clarify his rights to future benefits under the terms of the plan.” Thus, since Plaintiffs

allege claims for benefits under Plaintiff Joseph Bush’s ERISA Plan, their claim against Aetna

falls squarely within the scope of ERISA’s civil enforcement provision, and Plaintiffs are limited

to recovering plan benefits against Aetna.




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       13.     Pursuant to 29 U.S.C. § 1332(e)(1), both federal and state courts have concurrent

jurisdiction when a plaintiff is seeking to recover benefits under ERISA. State action to enforce

ERISA benefit rights is a federal question that can be removed; thus, removal to Federal Court of

Plaintiffs’ claim against Aetna pursuant to a plan regulated by ERISA is proper in this matter.

Metropolitan Life Ins. Co., 481 U.S. at 65-66 (holding that ERISA completely preempts and

transforms plaintiff’s state law claim into a federal claim).

       14.     Furthermore, ERISA “supersede[s] any and all state laws insofar as they may now

or hereafter relate to any employee benefit plan . . .” 29 U.S.C. § 1144(a). The United States

Supreme Court has given the phrase “relate to” an expansive meaning, holding that a state law

“relates to an employee benefit plan, in the normal sense of the phrase, if it has a connection with

or reference to such a plan.” Shaw v. Delta Air Lines, Inc., 463 U.S. 85, 96-97 (1983). ERISA

preemption applies if the state law claim seeks the benefits under an ERISA plan. Aetna Health,

Inc. v. Davila, 542 U.S. 200, 209-211 (2004).

       15.     ERISA preemption is not limited to statutes and rules, but also includes common

law causes of action related to ERISA plans. Pilot Life Ins. Co., 481 U.S. at 47-48. ERISA’s

preemptive provisions are “deliberately expansive.” Id. at 45-46.

       16.     Furthermore, Plaintiffs cannot rely on “artful pleading” to plead around complete

ERISA preemption. The general rule is that removal is improper unless a federal claim appears

on the face of a well-pleaded complaint. See Franchise Tax Board v. Construction Laborers

Vacation Trust, 463 U.S. 1, 10 (1983). Under the “artful pleading” doctrine, however, a court may

re-characterize a plaintiff’s claims as federal if the conduct complained of is governed exclusively

by federal law. Metropolitan Life Ins. Co., 481 U.S. at 65-66; see also Bartholet v. Reishauer A.G.

(Zurich), 953 F.2d 1073, 1075 (7th Cir. 1992) (“Just so, a complaint reciting that the claim depends



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on the common law of contracts is really based on [ERISA] if the contract in question is a pension

plan. Congress has blotted out (almost) all state law on the subject of pensions, so a complaint

about pensions rests on federal law no matter what label its author attaches. Any suit based on

federal law may be removed to federal court . . . So a suit about pensions is federal litigation at the

defendant’s option . . . Any other approach allows crafty drafting to defeat the statutory right to

remove.”) (emphasis in original) (internal citations omitted).

       17.     Here, while Plaintiffs have explicitly brought their claim against Aetna pursuant to

29 U.S.C. § 1132 of ERISA and have not alleged state law claims against Aetna, thus any attempt

to circumvent complete ERISA preemption by adding state law claims against ERISA would be

improper. Since Plaintiffs’ claim against Aetna stems from a purported failure by Aetna to pay

for benefits under an ERISA plan, Plaintiffs may only seek to recover their benefits pursuant to

ERISA. Plaintiffs admittedly recognize this fact by bringing their sole claim against Aetna

pursuant to ERISA. Accordingly, Plaintiffs’ sole claim against Aetna is completely preempted by

ERISA and properly removable to this Court under the federal question doctrine.

                     CONSENT OF CO-DEFENDANTS TO REMOVAL

       18.     Generally, defendants in an action must consent to removal petition in order to

effectuate removal. See Northern Illinois Gas Co. v. Airco Indus., 676 F.2d 270, 272 (7th Cir.

1982) (citing Gases Chicago, Rock Island, Pacific Railway Co. v. Martin, 178 U.S. 245, 248

(1900); P. P. Farmers Elevator Co. v. Farmers Elevator Mutual Insurance Co., 395 F.2d 546, 547

(7th Cir. 1968)). A defective removal petition subjects the action to remand to state court.

Northern Illinois Gas Co., 676 F.2d at 273. “However, the requirement that all defendants join a

removal petition is unnecessary for . . . parties not yet served.” Davis v. Averitt Express, Inc., No.

CIV A 06 C 5793, 2006 WL 3883322 at *2 (N.D. Ill. Dec. 28, 2006) (citing Roe v. O’Donohue,



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38 F.3d 298, 301 (7th Cir.1994) (overruled on other grounds by Murphy Bros., Inc. v. Michetti

Pipe Stringing, Inc., 526 U.S. 344, (1999); see also Torres v. Ortega, No. 92 C 4504, 1993 WL

62998, (N.D. Ill. Mar. 3, 1993) (“[n]amed defendants, not yet served in the state action, need not

join the notice of removal”) (citing Northern Illinois Gas Co., 676 F.2d at 273)). A petition for

removal filed by a defendant should explain the absence of co-defendants. P. P. Farmers Elevator

Co., 395 F.2d at 548 (“‘[W]here the suit involves multiple defendants and one or more of the

defendants does not join in the petition, better practice dictates that the petition expressly indicate

why, e.g., that he is a nominal party or was not served at the time of filing the petition.’”) (quoting

1A Moore’s Federal Practice ¶ 0.168 [3.-4]).

        19.     As of the filing of the instant Notice of Removal, the court record reflects Plaintiffs

have served Aetna and Defendants Ludlow Community Consolidated School District 142,

Pediatric Faculty Foundation and Health Care Service Corporation, d/b/a Blue Cross Blue Shield

of Illinois (“BCBS”) (See Exh. B, State Court Docket). Each of these Defendants have consented

to this Notice of Removal. (Exh. D, Declaration of Craig A. Jacobson, ¶ 3-5). Accordingly, Aetna

has properly obtained the consent of all known served defendants.

                            OTHER REMOVAL REQUIREMENTS

        20.     Aetna was served with process via an Alias Summons on July 28, 2021. (See Exh.

A, at 1-6).

        21.     Aetna entered its Appearance in the Circuit Court of the 12th Judicial Circuit of

Illinois, Will County on August 27, 2021 to effectuate the removal. No other documents have

been filed in the state court action.




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       22.     Pursuant to 28 U.S.C. § 1446(a), a copy of the Petition and all process, orders, and

pleadings that have been filed and served in the underlying matter are attached hereto as Exhibit

A. A copy of the electronic state court docket is also attached hereto as Exhibit B.

       23.     This Notice of Removal is timely filed within 30 days of service of the Alias

Summons on July 28, 2021, as required by 28 U.S.C. § 1446(b).

       24.     Pursuant to 28 U.S.C. § 1446(d), this Notice will be sent to all parties and will be

filed with the state court clerk’s office. No hearing has been set in state court.

       25.     Pursuant to Rule 81(c)(2)(C) of the Federal Rules of Civil Procedure, Aetna will

file a responsive pleading to Plaintiffs’ Complaint within seven days of the date that this Notice of

Removal is filed or will obtain a timely extension of the deadline to respond to Plaintiffs’

Complaint.

                                          CONCLUSION

       This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, and this action is

one which may be removed to federal district court by Aetna pursuant to 28 U.S.C. §§ 1441(a) and

1446(a), because Plaintiffs’ claim against Aetna is brought under ERISA, which presents a

removable federal question.

       WHEREFORE, Aetna hereby removes this action from the Circuit Court of the 12th

Judicial Circuit of Illinois, Will County to the United States District Court for the Northern District

of Illinois. By filing this Notice of Removal, Aetna does not waive any defenses that may be

available to it and reserves all such defenses.




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Date: August 27, 2021


                               Respectfully submitted,

                               GORDON REES SCULLY MANSUKHANI, LLP

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on August 27, 2021, a copy of the foregoing was

filed with the United States District Court for the Northern District of Illinois via the Court’s

CM/ECF system. Copies were also served via Certified Mail upon the following:



Clerk of Will County Circuit Court               Daniel A. Edelman
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                                                /s/ Craig A. Jacobson_____________________
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